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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


                                           )
Intellectual Ventures I LLC and            )
Intellectual Ventures II LLC,              )
                                           )
                Plaintiffs,                )
                                           )   CIVIL ACTION NO. 1:19-cv-01075-ADA
                                           )
       v.                                  )
                                           )
VMware, Inc.,                              )
                                           )
                Defendant.                 )
                                           )


                     DECLARATION OF DR. VIJAY MADISETTI, Ph.D.
            IN SUPPORT OF PLAINTIFFS’ CLAIM CONSTRUCTIONS FOR TERMS IN
                        U.S. PATENT NOS. RE43,051 AND RE44,818
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       I, Vijay Madisetti, Ph.D., hereby declare:

I.     INTRODUCTION

       1.      I am over the age of 18 and am competent to make this Declaration. I have personal

knowledge, or have developed knowledge, of these technologies based upon my education,

training, and/or experience, of the matters set forth herein.

       2.      I have been retained by counsel for plaintiffs Intellectual Ventures I LLC and

Intellectual Ventures II LLC (collectively, “IV”), in the above matter. I am submitting this

Declaration to address the meaning and construction of certain disputed terms in U.S Patent No.

RE 43,051 (“’051 patent”) and U.S Patent No. RE 44,818 (“’818 patent”). For the purposes of

this Declaration, I have not been asked to opine on the meaning of any other disputed terms not

addressed below.

II.    QUALIFICATIONS AND PROFESSIONAL EXPERIENCE

       3.      I am an expert in the field of networking systems. I have studied, taught, practiced,

and researched this field for over twenty-five years. I have summarized in this section my

educational background, work experience, and other relevant qualifications. Attached hereto as

Appendix A, is a true and correct copy of my curriculum vitae describing my background and

experience.

       4.      I received my Bachelor of Technology (Honors) in Electronics and Electrical

Communication Engineering at the Indian Institute of Technology (IIT) in Kharagpur, India in

1984. I obtained my Ph.D. in Electrical Engineering and Computer Science at the University of

California, Berkeley, in 1989. I received the Demetri Angelakos Outstanding Graduate Student



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Award from the University of California, Berkeley and the IEEE/ACM Ira M. Kay Memorial

Paper Prize in 1989.

       5.      I am a tenured Professor in Electrical and Computer Engineering at the Georgia

Institute of Technology (“Georgia Tech”) for nearly 25 years, and I am knowledgeable and familiar

with information technology infrastructures, designing and evaluating virtualized environments,

virtual machine architecture and optimization, cloud technology, as well as wireless

communications, microprocessor architecture, hardware, RF, cellular networks, ASIC design,

computer engineering, embedded systems, digital signal processing, and associated software and

firmware design for wireless and telecommunications terminals and base stations.

       6.      I have been working in the areas of cloud computing, workload modeling,

virtualization, and benchmarking for over ten years. In the area of characterization, modeling and

generation of workloads for cloud computing applications, I have created a synthetic workload

generator for virtual environments that accepts benchmark and workload model specifications. I

also developed a cloud workload specification language called, GT-CWSL, to provide a structured

way for specification of application workloads. These approaches allow accurate characterization

of virtualization and cloud performance and have been published in “Synthetic Workload

Generation for Cloud Computing Applications,” Journal of Software Engineering and

Applications, 2011, Vol. 4, pp. 396-410. See also GAFFES: Design of a Globally Distributed File

System, UC Berkeley Reports, CSD-87-361.pdf (1987) on distributed and virtualized file systems.

       7.      In other work related to virtualization, performance modeling, and data integration,

I have developed cloud-based information integration and informatics framework, called

CHISTAR, that allows integration of distributed and heterogeneous data into a common virtual

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environment (on commodity hardware running hypervisors), and allows easier analysis and

analytics to be performed. This research was presented as a cover feature in the Special Issue on

Computing in Healthcare, IEEE Computer Magazine, in 2015 (“Healthcare Data Integration and

Informatics in the Cloud”).

       8.     Further, in my work on rapid prototyping of cloud-based virtual services and

systems, I proposed a new methodology using loosely coupled virtual components that are not

restricted by architecture or programming styles. This approach, shown below, creates virtual

components that are then integrated and deployed effectively to realize improvements in

deployment efficiency and time to deployment.




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         9.    Generally, the use of our CCM-based virtualization and cloud component

methodology improved throughput and response times. These results were published in the

flagship journal, IEEE Computer Magazine, in November 2013. A. Bahga, V. Madisetti, “Rapid

Prototyping of Advanced Cloud-Based Systems,” IEEE Computer, vol. 46, no. 11, Nov. 2013, pp.

76-83.

         10.   Yet another relevant publication 1997 IEEE paper that concerned an open signal

processing system design and implementation environment, BEEHIVE, that allows application

developers to rapidly compose and debug functional specifications in a networked, distributed

computing environment, and then later migrate the application (transparently) onto an embedded,

distributed, computing hardware/software platform, with the capability to reconfigure (adaptively)

the resources assigned to the application to meet the dynamic real-time requirements of the

implementation. 1997 IEEE International Conference vol. 1, 21-24 April 1997, pp. 663 - 666.

         11.   In addition to research and commercialization projects in virtualization and cloud

computing and advanced cloud applications and data analytics, I have also taught courses and

written books in these areas. These books are widely used by dozens of universities all over the

world - A Bahga, V. Madisetti Cloud Computing: A Hands-On Approach (2013); A Bahga, V.

Madisetti, Internet of Things: A Hands-On Approach (2014); A Bahga, V. Madisetti, Big Data

Science & Analytics: A Hands-On Approach (2016); A Bahga, V. Madisetti, Blockchain

Applications: A Hands-On Approach (2017).

         12.   I have been an active consultant to industry and various research laboratories

(including Massachusetts Institute of Technology Lincoln Labs and Johns Hopkins University

Applied Physics Laboratory). I also have founded three companies in the areas of embedded

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software, military chipsets involving imaging technology, and wireless communications, and I

have supervised the Ph.D. dissertations of over twenty engineers in the areas of computer

engineering, signal processing, communications, rapid prototyping, and system-level design

methodology, of which five have resulted in thesis prizes or paper awards.

       13.     I have been elected a Fellow of the IEEE, for contributions to embedded computing

systems. The Fellow is the highest grade of membership of the IEEE, a world professional body

consisting of over 300,000 electrical and electronics engineers, with only one‐tenth of one percent

(0.1%) of the IEEE membership being elected to the Fellow grade each year. Election to Fellow

is based upon votes cast by existing Fellows in IEEE.

       14.     I have authored more than sixty refereed journal publications and around forty peer

reviewed conference publications, and I have submitted approximately fifty invention disclosures

and provisional patents applications over the past ten years. At least fifteen are issued US patents.

       15.     I have testified as an expert witness before. Over the past six years, I’ve testified as

an expert in more than 20 proceedings.

       16.     I am being compensated for my work in this case at my standard rate of $550 per

hour (plus reimbursement for expenses) in connection with my preparation of this report, as well

as for each hour spent providing deposition or testimony. This compensation is not contingent

upon my performance, the outcome of this case, or any issues involved in or related to this case. I

have no financial interest in this matter.

III.   MATERIALS RELIED UPON IN FORMING MY OPINIONS

       17.     In preparing my opinions, I have reviewed the ’051 and ’818 patents and their

prosecution histories, and have also reviewed the other documents and materials cited herein.
                                                  5

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        18.     My opinions are also based upon my education, training, research, knowledge, and

personal and professional experience.

IV.     CLAIM CONSTRUCTION PRINCIPLES

        19.     I am not an attorney. Counsel for IV has informed me about several principles and

standards of patent law, which I have used in developing my opinions expressed herein.

        20.     I have been informed that the claims of a patent define the scope of the invention

and the patentee’s rights. I have been told that patent claims generally should be interpreted

consistent with their plain and ordinary meaning as would have been understood by persons of

ordinary skill in the art, after reviewing the patent claim language, the specification, and the

prosecution history (i.e., the intrinsic record). In this regard, I have also been told that, in order to

determine the proper meaning of a disputed claim term, I first look to the claim language itself,

the specification, and the prosecution history.

        21.     I have been informed that a single claim term should be construed consistently with

its appearance in other places in the same claim or in other claims of the same patent, unless it is

clear from the specification and prosecution history that the terms have different meanings at

different portions of the claims.

        22.     I have been informed, as a general rule, that unless a patent applicant shows an

intent to limit their invention, particular examples or embodiments discussed in the specification

are not to be read into the claims as limitations. I have also been told that the construction that

stays true to the claim language and most naturally aligns with the patent’s description of the

invention will be the correct construction.



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       23.     I have been informed that extrinsic evidence outside the patent and prosecution

history, such as expert testimony, treatises and dictionaries, may also be considered as an aid in

arriving at the proper construction of a claim when a claim term is ambiguous.

       24.     I have been informed that 35 U.S.C. § 112 ¶ 6 (pre-AIA, now § 112(f)) states that

“[a]n element in a claim for a combination may be expressed as a means or step for performing a

specified function without the recital of structure, material, or acts in support thereof, and such

claim shall be construed to cover the corresponding structure, material, or acts described in the

specification and equivalents thereof.” I have also been informed that when a claim uses the phrase

“means for” to describe a limitation, it is presumed that § 112 ¶ 6 applies. Similarly, I understand

that if a claim term does not use the word “means,” there is a rebuttable presumption that 35 U.S.C.

§ 112, ¶ 6 does not apply to that claim term. I understand that when a claim term lacks the word

“means,” the presumption can be overcome and § 112, ¶ 6 will apply if the challenger demonstrates

that the claim term fails to recite sufficiently definite structure or else recites function without

reciting sufficient structure for performing that function. When that presumption is rebutted, I

have been informed that that a “means-plus-function” limitation must be construed to cover the

corresponding structure, material, or acts described in the specification and equivalents thereof.

       25.     I have been informed that the procedure for construing a “means-plus-function”

claim limitation involves first defining the function of the limitation, and then identifying the

corresponding structure for that function. I have been informed that the function of a means-plus-

function limitation is construed to include the limitations contained in the claim language, and only

those limitations. Further, I have been informed that the corresponding structure is identified by

looking at the specification and prosecution history of the patent. However, structure disclosed in

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the specification or the prosecution history is considered “corresponding” structure only if the

specification or prosecution history clearly links or associates that structure to the function recited

in the claim. I have been informed that a bare statement that known techniques or methods can be

used does not disclose structure, even if a person of skill in the art would be capable of

implementing a structure.

V.      LEVEL OF ORDINARY SKILL IN THE ART

        26.     I have been informed that there is a concept in patent law known as a person having

ordinary skill in the art (“POSITA”). I have been informed that this concept refers to a person who

is trained in the relevant technical field of a patent without possessing extraordinary or otherwise

exceptional skill. Further, I have been informed that factors such as the education level of those

working in the field, the sophistication of the technology, the types of problems encountered in the

art, prior art solutions to those problems, and the speed at which innovations are made may help

establish the level of skill in the art.

        27.     Taking these factors into consideration, it is my opinion that a person having

ordinary skill in the art at the time the earliest applications for the ’051 and ’818 patents were filed

would have had a bachelor’s degree in electrical engineering, computer engineering, computer

science, or a related field, and one to two years of experience in the design or development of

networking systems, or the equivalent.        Additional graduate education could substitute for

professional experience, or significant experience in the field could substitute for formal education.

        28.     Based on my qualifications described above, I was at least a POSITA at the time

the earliest applications for the ’051 and ’818 patents were filed. My opinions herein are from the

perspective of a POSITA as of that date.

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VI.     OVERVIEW OF THE ’051 PATENT

        29.      The ’051 patent is titled “Enabling a Service Provider to Provide Intranet Services.”

It was filed September 19, 2007 and issued December 27, 2011. It claims priority to Application

Priority Date March 15, 2000.

VII.    OVERVIEW OF THE ’818 PATENT

        30.      The ’818 patent is titled “Quality of Service in Virtual Computing Environments.”

It was filed May 4, 2012 and issued March 25, 2014. It claims priority to Application Priority

Date December 7, 2007.

VIII. THE ’051 PATENT DISPUTED CLAIM TERMS

        A.       “virtual server” (’051 patent claims 1, 3, and 6)

              Plaintiffs’ Proposed Construction                        Defendant’s Proposed Construction
                  Plain and ordinary meaning                    “a process executing on a host computer that accepts
       Alternatively – “virtual machine(s) that reside(s)                    communication requests”
          on a physical server and use(s) the physical
       server’s resources, but [has/have] the appearance
          of being a separate, dedicated machine(s)”

        31.      In my opinion the term virtual server is a well-known and commonly used term

among those of skill in the art and means exactly what it says; a virtualized server. A POSITA

would readily understand that the term “virtual server” is referring to a virtualized server, without

further explanation.

        32.      A virtual server is an example of a type of virtual machine that virtualizes physical

server functionality. A POSITA would further understand and appreciate how the alternate

phrasing “virtual machine that resides on a physical server and uses the physical server’s resources,

but has the appearance of being a separate, dedicated machine” illustrates the plain and ordinary

meaning of a virtual server by way of a common example, without further explanation.

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        33.      Examples of how “virtual server” and “virtual machine” were known and used in

the art can be found in the following patent: U.S. Pat. No. 5,870,550.

        B.       “physical interface[s]” (’051 patent claims 1 and 3)

              Plaintiffs’ Proposed Construction               Defendant’s Proposed Construction
                  Plain and ordinary meaning             “hardware that provides a point of communication
                                                                  between two or more devices”


        34.      In my opinion, the ‘051 patent uses term “physical interface(s)” unambiguously

and in a manner entirely consistent with its well-established meaning in the art. The plain and

ordinary meaning of this term would readily be understood by a POSITA as referring to an

interface that is physical.

        35.      In my opinion, the wording proposed by Defendant’s construction is too limiting,

at least because the “between two or more devices” phrasing is narrower than the well-known

meaning of “physical interface.” For example, a wireless physical interface (e.g., a WLAN radio)

can interface with a wireless medium or wireless network using radio wave signaling without

specifically being connected to other discrete devices (e.g., passive scanning).

        36.      Examples of how “physical interface” was known and used in the art can be found

in the following patents: U.S. Pat. No. 6,446,192 and U.S. Pat. No. 5,835,710.

        C.       “storing . . .” / “storing . . .” / “receiving . . .” / “determining . . .” / “determining
                 . . .” / “sending . . .” / “using . . .” (’051 patent claims 1 and 3)

        37.      In my opinion, the ’051 patent uses the well-understood terms “physical

interface(s)” and “tunnel identifier(s)” combined in a clear and straightforward manner as recited

in claims 1 and 3. It is apparent to me, as one of skill in the art, that the inventors are first referring

to general instances of “physical interfaces” and “tunnel identifiers” at the beginning of the claims,

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and subsequently referring to associated instance(s) of “a [physical interface/tunnel identifier]”

followed sequentially by “the [physical interface/tunnel identifier].”

       38.      Further, I note that the final two instances of the disputed terms recited in claim 1

are worded as such: “determining . . . a physical interface and tunnel identifier” followed by

“the determined [physical interface/tunnel identifier].” Similarly in claim 3, the final two instances

of those terms are worded as such: “using . . . to identify a physical interface and tunnel identifier”

/ “the identified [physical interface/tunnel identifier].” In my opinion, the patentees additional use

of the qualifying language “determined” / “identified” combined with the sequential ordering of

these instances makes it clear to one of skill in the art that the two instances are associated.

       39.      In    my     opinion,     but    for    the     constituent      term    “customer       forwarding

table(s)/information,” which I address elsewhere in this Declaration, each and every remaining

term and limitation recited in the numerous disputed claim elements is well-understood and being

used in its plain and ordinary manner as would readily be apparent to one of skill in the art. There

is nothing in the specification that otherwise contradicts or purports to limit these terms to

something different than their ordinary meanings.

       D.       “customer forwarding [table(s)/information]” (’051 patent claims 1 and 3)

            Plaintiffs’ Proposed Construction                        Defendant’s Proposed Construction
        “table(s) containing [a set/sets] of customer        See construction of "storing a customer lookup table,
        specific forwarding information” / “set(s) of            the customer lookup table storing associations
         customer specific forwarding information”             between physical interfaces and tunnel identifiers
                                                                 identifying tunnels for private networks and a
                                                             plurality of customer forwarding tables" / “storing . .
                                                             . customer forwarding information, . . . the customer
                                                                  forwarding information associating network
                                                                  addresses with physical interfaces and tunnel
                                                                                  identifiers"

       40.      In my opinion, adding the term “set” or “sets” where appropriate to assist in

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differentiating singular versus plural instances of the claim terms at issue is a proper deviation

from the plain and ordinary meaning of the terms that would be helpful in clarifying its intended

meaning. Such wording is consistent with a POSITA’s understanding of the terms in light of the

specification, which clearly expresses that the invention as a whole can store multiple sets of

customer forwarding information, but in the context of specific transmissions it can associate a

specific set of customer forwarding information with a correct customer.

        41.      Further, it is well-understood that tables in the computing context contain

information. This is further emphasized in the ‘051 patent specification for example at 11:58-61

where is states “customer 1's information is contained in customer forwarding table 910, and

customer 2's information is contained in customer forwarding table 920.” Thus, the addition of

the word “information” to qualify the “table” variant promotes consistency with the broader

“information” variant without substantively altering the meaning of either term.

IX.     THE ’818 PATENT DISPUTED CLAIM TERMS

        A.       “hierarchical token bucket resource allocation” / “token(s)” (’818 patent claims
                 1, 17, 30, 32 and 42)

              Plaintiffs’ Proposed Construction              Defendant’s Proposed Construction
                  Plain and ordinary meaning             The specific class-based scheduling algorithm
                                                       known in the art as the “hierarchical token bucket” /
                                                          “token” as used in “hierarchical token bucket
                                                                       resource allocation”

        42.      In my opinion, the concept of a “hierarchical token bucket” is one that a POSITA

would readily have understand in view of the specification. The specification’s usage of the

disputed term itself and related terms (e.g., “hierarchical,” “hierarchical QoS [management]

process,” “QoS process at each hierarchical tier,” “hierarchy,” “token,” “token bucket,”

“resources,” “allocation,” “tier,” “parent,” “child,” “node,” “root,” “leaf,” “non-leaf,” “class,” etc.)
                                                  12

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in conjunction with the accompanying description and examples is fully consistent with the known

understanding of hierarchical token bucket approaches in the art.

       43.     Although the concept of a hierarchical token bucket algorithm (e.g., in Linux)

existed prior to the invention of the ‘818 patent, the general concept of a hierarchical token bucket

approach had been implemented into numerous additional systems and methods and was not

understood as referring to a specific, particular algorithm or application, but rather the general idea

of using e.g., a tiered, tree-like arrangement of token buckets to represent a system of nodes, layers,

interfaces, and/or resources.

       44.     In the ‘818 patent, the specification describes examples of hierarchical token bucket

algorithms implemented in the larger context of the claimed virtual input/output (I/O) QoS

management and resource allocation systems and methods. In light of the above, it is my opinion

that a POSITA would have understood the disputed term to be consistent with its plain and ordinary

meaning as further exemplified in the specification.

       45.     Examples of how “hierarchical” and “token bucket” were known and used in the

art can be found in the following patents: U.S. Pat. No. 5,689,508; U.S. Pat. No. 5,864,540,

EP1221214A1.




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       B.       “enforcing . . .” / “receiv[e/ing] . . .” / “classify[ing] . . .” / “compar[e/ing] . . .”
                / “forward[ing] . . .” / “buffer[ing] . . .” (’818 patent claims 1, 17, 30, 32, 33, 37-
                39, 42)

             Plaintiffs’ Proposed Construction                 Defendant’s Proposed Construction
                 Plain and ordinary meaning             “enforcing . . . across the physical [storage network]
                                                                 interface of the virtual I/O server” /
                                                              “receiv[e/ing] in the virtual I/O server” /
                                                              “classify[ing] in the virtual I/O server” /
                                                             “compar[e/ing] in the virtual I/O server” /
                                                              “forward[ing] in the virtual I/O server” /
                                                                “buffer[ing] in the virtual I/O server”

       46.      In my opinion a POSITA would not seek to import the structural limitation of a

virtual input/output server from embodiments of the specification into nearly every element of the

claims. Each of the literal claim terms at issue are used clearly and unambiguously throughout the

claims in a manner consistent with the specification and would be readily understood by a POSITA

in accordance with their plain and ordinary meaning.

       47.      Considering the entire context of claims 1, 17, 30, 32, 33, 37-39, 42, the

surrounding claim language that precedes and follows the disputed terms qualifies and sequences

the claim language in a manner that would have fully enabled one of skill in the art to parse the

claim language and practice the claimed invention. Thus, in my opinion, there is no need to read

in additional “virtual I/O server” limitations to further qualify the explicit claim language since the

meaning of each disputed term, claim element, and claim in its entirety would have been clear,

unambiguous, and structurally complete to a POSITA without repeatedly needing to reference a

virtual I/O server.




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        C.       “maintain[ing] a connection over a network fabric” (’818 patent claims 1, 17,
                 30, 32, 42)

              Plaintiffs’ Proposed Construction                Defendant’s Proposed Construction
                  Plain and ordinary meaning              "maintaining a connection between the physical
                                                        interface of the application server and the physical
                                                         interface of the virtual I/O server over a network
                                                                               fabric"

        48.      In my opinion, taking the entire claim element in context, the structural

relationships between “a connection,” “a network fabric,” and “a virtual interface layer of an

application server” are clearly defined as written. A POSITA would have readily understood these

relationships in light of the claim itself and the specification thus, in my opinion, importing two

additional structural limitations (“the physical interface”) would be improper since connections

could readily be understood in the art as logical or virtual, as opposed to physical.

        49.      In each of claims 1, 17, 30, 32, and 42, the disputed claim term is followed and

qualified by the limitation “virtual [network/storage network] interface layer,” which would have

further suggested to one of skill in the art that a virtual structure is being claimed in that particular

claim element. In my opinion, it would have been inappropriate for one of skill in the art to read

unclaimed physical limitations into a claim element (or claim in general) that is reciting virtual

structure.

        D.       Alleged Means Plus Function Elements (’818 patent claim 17)

        50.      In my opinion the claimed phrase “input/output virtualization module” connotes

distinct structure to a POSITA. Further, the claim language itself connotes sufficiently definite

structure, as it includes “an input/output fabric interface,” “a storage network interface,” “one or

more processors,” and “a memory.” Each of these are defined structural elements as would be

understood by a POSITA without additional limitations.

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I declare under penalty of perjury that the foregoing is true and correct.



 Dated: March 27, 2020                          Signed:




                                                              Dr. Vijay Madisetti




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        APPENDIX A
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                                               Professor Vijay K. Madisetti, ECE




Dr. Vijay K. Madisetti
Fellow, IEEE
vkm@madisetti.com
Cell: 770-527-0177
Address:
56 Creekside Park Drive
Johns Creek, GA 30022

Employment:

         •   1984-1989: Post Graduate Researcher (UC Berkeley),
         •   1989-present: Full Professor of Electrical & Computer
             Engineering (Georgia Tech, Atlanta, GA 30332).

Areas of Technical Interest – Wireless & Mobile Communications,
Computer Engineering, Circuit Design (Analog/Digital), Software
Engineering, Digital Signal Processing, Wireline & Wireless Computer
Networks, Software Systems, Control Systems, Cloud Computing.


Startup Companies:

Director, VP Technologies, Inc. (1995- ): A startup commercialized
through Georgia Tech’s Advanced Technology Development Corporation
(ATDC) focusing on digital software and hardware design services for military
market. http://www.vptinc.com

Director, Soft Networks, LLC (2001-2007): A startup commercialized
through Georgia Tech support focusing on software development tools and
compilers for Cellular/WiFi/VOIP/telecommunication products.
http://www.soft-networks.com

Director, Elastic Video Inc. (2007- 2009): A startup commercialized
through Georgia Tech’s VentureLab (http://venturelab.gatech.edu)
development image and video processing software for wireless & IP
networking.




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Litigation Experience (2011-2019) With Testimony
(Note: There may be multiple cases between the parties, e.g., District Court v. ITC, US versus
Foreign Cases)


       Case Name: HTC v. IPCOM
       Case No: 1:2008-cv-01897 (District of Columbia)
       Expert for IPCOM
       (3G Standards: 2009 – 2012)
       Testified by deposition

       Case Name: Apple v. Kodak
       Case No. ITC 337-TA-717 (ITC)
       Expert for Kodak
       (Digital Image Processing & UI: 2008-2011)
       Testified at trial

       Case Name: Harkabi v. Sandisk,
       Case No: 1:08-cv-08203-WHP (SDNY)
       Expert for Harkabi
       (Digital Rights Management for Flash Devices: 2010-2012)
       Testified at trial

       Case Name: Yangaroo Inc. v. Destiny Media Technologies, Inc.
       Case No: 09-C-0462 (ED Wisconsin)
       Expert for Yangaroo.
       (Digital Rights Management Streaming: 2010-2011)
       Testified by deposition

       Case Name: Motorola v. Microsoft,
       Case No: ITC 337-TA-752
       Expert for Motorola
       (Peer to Peer Gaming: 2011-2013)
       Testified at trial

       Case Name: Motorola v. Apple,
       Case No: ITC 337-TA-745 (ITC)
       Expert for Motorola
       (Mobile Applications & UI: 2011-2012)
       Testified at trial

       Case Name: Innovative Sonic Ltd. vs. RIM
       Case No: 3:11-cv-00706-K-BF (ND Dallas)
       Expert for Innovative Sonic Ltd
       (3G Standards – Encryption, HSDPA: 2010-2013)
       Testified at trial




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   Case Name: Interdigital v. ZTE et al (JDA)
   Case No: ITC 337-TA-800
   Expert for JDA
   (3G Standards – HSDPA: 2012-2013)
   Testified at trial

   Case Name: Kodak v. Apple, HTC
   Case No: ITC 337-TA-831
   Expert for Kodak
   (Digital Image Processing & UIs: 2011-2012)
   Submitted reports

   Case Name: Calypso v. T-Mobile
   Case No: 2:08-CV-441-JRG-RSP [ED Texas]
   Expert for T-Mobile
   (Unified Communications: 2012-2013)
   Testified by deposition

   Case Name: TracBeam v. AT&T
   Case No: 6:11-cv-00096-LED [ED Texas]
   Expert for AT&T
   (GPS Services: 2011-2012)
   Testified by deposition

   Case Name: BT v. Cox/Comcast
   Case No: 10-658 (SLR) (District of Delaware)
   Expert for Cox and Comcast
   (VOIP, Network Management: 2012-2014 )
   Testified by deposition

   Case Name: Ericsson v. Samsung
   Case No: 337-TA-862 (ITC)
   Expert for Ericsson
   (RF Receivers, EDGE Standards: 2012- 2013)
   Testified at trial

   Case Name: IPR – ContentGuard v. ZTE
   Case No: (PTAB)
   Expert for ZTE
   (DRM for Digital Devices: 2012-2014)
   Testified by deposition




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   Case Name: Emblaze v. Apple
   Case No: 5:11-cv-01079-PSG (ND Cal)
   Expert for Emblaze
   (Digital Video/Audio Streaming: 2012-2014 )
   Testified at trial

   Case Name: Emblaze v. Microsoft
   Case No: 3:12-cv-05422-JST (ND Cal)
   Expert for Emblaze
   (Digital Video/Audio Streaming: 2012 - Present)
   Ongoing

   Case Name: MMI v. RIM
   Case No: 2:10-cv-00113-TJW-CE (ED Texas)
   Expert for MMI
   (Area: Mobile Devices/User Interfaces: 2012- 2013)
   Testified by deposition

   Case Name: Wi-LAN v. Apple
   Case No: 13-cv-0790 DMS (ED Texas)
   Case No: 3:14-cv-010507-DMS-BLM
   Expert for Wi-LAN
   (Area: 4G/3G Wireless Communications: 2013 –2018 )
   Testified by Deposition

   Case Name: Sentius LLC v. Microsoft
   Case No: 5:13-cv-00825-PSG (ND Cal)
   Expert for Sentius
   (Area: Enterprise Software Systems: 2014-2015)
   Testified by deposition

   Case Name: Medius Eagle Harbor v. Ford
   Case No: 3:1-cv-05503-BHS (WD Washington)
   Expert for Medius Tech
   (Area: Automotive Multimedia Systems: 2014-2016)
   Testified at Trial

   Genband US LLC v. Metaswitch Networks
   No 2:14-cv-33 (E.D. Texas)
   Expert for Metaswitch Networks
   Technology: Voice & Data Over IP Networks (2014-2015)
   Submitted declarations & deposition




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                                               Professor Vijay K. Madisetti, ECE


   Enterprise - Systems Technologies S.a.r.l v. Samsung Electronics Co. Ltd
   Case No: 6:14-cv-555-MHS (ED Texas) and ITC Inv. No. 337-TA-925
   Expert for Samsung
   Technology: Android Operating System (2014-2015)
   Testified by deposition

   Ericsson Inc. v. Apple Inc.
   Case No: 2:15-cv-287 (ED Texas) and ITC-337-952/953
   Expert for Ericsson
   Technology: 4G Wireless Systems (2015 – present)
   Testified by deposition & Trial

   Intellectual Ventures LLC v. Motorola Mobility LLC (Google)
   Case No: 13-cv-61358-RST (S.D. Florida)
   Expert for Google
   Technology: Wireless Systems (2013- present)
   Testified by deposition (IPR)

   Intellectual Ventures LLC v. Nikon Corp
   C.A No. 11-1025-SLR (District of Delaware)
   Expert for Nikon
   Technology: Wireless Systems (WiFi) (2014-2015)
   Submitted declarations

   Masimo v. Mindray Biomedical Electronics Co. / Philips
   Case No: SACV-12-02206 CJC (JPRx) (C.D. California)
   8:12-cv-02206-CJC-JPR
   Expert for Masimo
   Technology: Pulse Oximetry (2014 – 2016)
   Submitted reports, testified by deposition

   Samsung v. Nvidia
   Case No: 3:14-cv-757-REP ED Virginia
   Expert for Samsung
   Technology: Microprocessors & Memories (2014 – 2016)
   Submitted reports & Deposition & Trial

   Chrimar v. HP/Cisco/Alcatel/Dell/Adtran/AeroHive/D-Link/TP-
   Link/TrendNet/Juniper Networks/CoStar/Accton/AMX
   Case No: 4:13-cv-1300-JSW, Case 6:15-cv-163 (ED Texas)
   Case No: 6:15-cv-00618-JRG-JDL (ED Texas)
   Expert for Chrimar
   Technology: Power over Ethernet (2015-2017)
   Submitted reports & Deposition & Trial




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                                                  Professor Vijay K. Madisetti, ECE


   Chamberlain v. Ryobi/TTI
   Case No: 1:16-cv-06097 (ND Illinois)
   Expert for Ryobi
   Technology: Wireless/IoT/Barrier Movement (2016 – present)
   Submitted reports & deposition & trial testimony

   IOEngine v. IMC/Imation
   Case No: cv-14-1572-GMS (US Delaware)
   Expert for IMC/Imation
   Technology: Networked Storage Device (2016-2017)
   Submitted reports & deposition & trial testimony

   Huawei v. Samsung
   Case No: 3:16-cv-2787-WHO (ND Cal)
   Expert for Samsung
   Technology: 4G/LTE Random Access Protocols (2016-present)
   Submitted reports & deposition

   Hitachi Maxell v. ZTE/Huawei
   Case No: 5:16-cv-00178-RWS (ED Texas)
   Expert for Hitachi Maxell
   Technology: Digital Cameras
   Submitted reports & deposition (2017 – 2018)

   Qualcomm v. Apple
   Case No: 17-ccv-0108-GPC-MDD (SD Cal) Also, Related ITC/FTC Matters
   Expert for Qualcomm
   Technology: 4G/Wireless Communications/Smartphones (2017-2019)
   Submitted Reports and Deposition

   Qualcomm v. Apple
   Case No: 3:17-cv-01375-DMS-MDD (SD Cal)
   Expert for Qualcomm
   Technology: 4G/Wireless Communications/Smartphones (2017-2019)
   Submitted Reports and Deposition

   Optis v. Huawei
   Case No: 2:17-cv-123 (E.D. Texas)
   Expert for Optis Wireless
   Technology: 4G/Video (2017-2019)
   Submitted reports & deposition




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                                                  Professor Vijay K. Madisetti, ECE


   Broadcom v. Sony
   Case No: 8:16-cv-1052 (PTAB and Central Cal)
   Expert for Broadcom
   Technology: Wi Fi
   No activity - settled (2017 – 2017)

   Ameranth v. Hyatt Corporation
   Case No: 3:11-cv-1810 (SD Cal)
   Expert for Hyatt
   Technology: Wireless eCommerce Applications (2017-2018)
   Expert Technical consulting

   Rovi v. Comcast
   ITC No. 337-TA-1103 (ITC)
   Expert for Rovi
   Technology: Digital Video & interactive GUI (Jan 2018-May 2018)
   Reports and Deposition

   Beckman Coulter v. Sysmex
   Case No: 1:17-cv-24049-DPG (ND Illinois)
   Expert for Sysmex
   Technology: Medical Instrumentation Automation (2017-present)
   Testifying Expert

   TQ Delta
   Expert for TQ Delta
   Technology: DSL Technologies (2018-present)
   Testifying Expert

   3GL/KPN v. LG, Blackberry, HTC
   Expert for 3GL/KPN
   Technology: 4G/LTE Protocols (2018-present)
   Reports and Deposition / Testifying Expert

   Cirba/Densify v. VMWare
   Case No: 1:19-cv-00742-LPS
   Expert for Cirba/Densify
   Technology: Virtualization (2019-present)
   Reports Deposition/PI Hearing / Testifying Expert

   Power Integrations v. On Semiconductor
   Case No: 17-cv-03189-BLF
   Expert for On Semiconductor
   Technology: Power Electronics (2018-present)
   Reports & Deposition/Testifying Expert.




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                                                   Professor Vijay K. Madisetti, ECE


     Wilan v. Apple
     Case No: 3:14-cv-2235
     Expert for WiLan
     Technology: Voice over LTE/LTE Protocols
     Reports and Testified through Deposition/Trials




     Additional matters include declarations supporting IPRs at the PTAB for Google
     (US Patent 8,601,154), On Semiconductor (US Patent 6,212,079), Ubisoft (US
     Patent 5,490,216), Broadcom (WiFi), Sony (US Patent 6,101,534), Kia, (US
     Patent 5,530,431), Qualcomm, Fortinet (US patent 6,195,587), and ZTE (US
     Patent 7,523,072), and Ericsson, Amazon, Ring, Digital Ally, On Semiconductor,
     United Patents, Lenovo, BMC Software.


Earned Degrees

  1. B. Tech (Hons), Electronics & Electrical Comm. Engineering
     Indian Institute of Technology (IIT), Kharagpur, India
     1984.


  2. Ph.D., Electrical Engineering & Computer Sciences (EECS)
     University of California (UC), Berkeley. CA
     1989.



Books


  1. VLSI Digital Signal Processors
     Madisetti, V.K.;
     Boston: MA, IEEE Press: Butterworth Heinemann, 1995, 525 pp.


  2. Quick-Turnaround ASIC Design in VHDL
     Romdhane, M., Madisetti, V.K., Hines, J.
     Boston: MA, Kluwer Academic Press, 1996, 190 pp.


  3. The Digital Signal Processing Handbook (First Edition)
     Madisetti, V. K., Williams, D. (Editors)
     CRC Press, Boca Raton, Fla, 1998, 2500 pp.


  4. VHDL: Electronics Systems Design Methodologies.
     Madisetti, V. K. (Editor)



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                                             Professor Vijay K. Madisetti, ECE

   Boston: MA, IEEE Standards Press, 2000, ISBN 0-7381-1878-8.


5. Platform-Centric Approach to System-on-Chip (SoC) Design.
   Madisetti, V. K., Arpnikanondt, A.
   Springer, Boston: MA, Springer, 2004, 280 pp.


6. The Digital Signal Processing Handbook – Second Edition.
   Madisetti, V. K. (2009)
   CRC Press, Boca Raton, Fla.


7. Cloud Computing: A Hands-On Approach
   A Bahga, V. Madisetti (2013)
   Amazon CreateSpace Publishing, 2013, 454 pp.


8. Internet of Things: A Hands-On Approach
   A Bahga, V. Madisetti (2014)
   Amazon CreateSpace Publishing, 2014, 450 pp.




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                                         Professor Vijay K. Madisetti, ECE




9. Big Data Science & Analytics: A Hands-On Approach
   A Bahga, V. Madisetti (2016)
   Amazon CreateSpace Publishing, 2016, 542 pp.




10.Blockchain Applications: A Hands-On Approach
A Bahga, V. Madisetti (2017)
Amazon CreateSpace Publishing, 2017, 380 pp.




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                                                  Professor Vijay K. Madisetti, ECE




Edited Books & Collection of Papers


  1. Advances in Parallel & Distributed Simulation
     Madisetti, V.K.;Nicol, D., Fujimoto, R. (Editors)
     San Diego, CA: SCS Press, 1991, 200 pp.


  2. Modeling, Analysis, Simulation of Computer & Telecommunications
     Systems
     Madisetti, V., Gelenbe, E., Walrand, J. W. (Editors)
     Los Alamitos: CA, IEEE Computer Society Press, 1994, 425 pp.


  3. Modeling & Simulations on Microcomputers
     Madisetti, V.K. (Editor)
     San Diego, CA: SCS Press, 138 pp. 1990.




Editorship of Journals & Transactions


  1. IEEE Design & Test of Computers
     Special Issue: Reengineering Digital Systems
     April – June 1999 (Vol 16, No 2)
     Madisetti, V.K (Editor)
     Los Alamitos: CA, IEEE Computer Society Press, 1999.


  2. IEEE Design & Test of Computers
     Special Issue: Rapid Prototyping of Digital Systems
     Fall 1996 (Vol 13, No 3)



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                                                  Professor Vijay K. Madisetti, ECE

     Madisetti, V., Richards, M. (Editors)
     Los Alamitos: CA, IEEE Computer Society Press, 1994, 425 pp.


  3. IEEE Transactions on Circuits & Systems II
     Associate Editor: 1993-1995.


  4. International Journal in Computer Simulation
     Associate Editor: 1990-1993


  5. International Journal in VLSI Signal Processing
     Editorial Board: 1995 - Present




Refereed Journal Publications



  1. Trends in the Electronic Control of Mine Hoists
     Madisetti, V. and Ramlu, M.,
     IEEE Transactions on Industry Applications, Vol IA-22, No. 6,
     November/December 1986. Pages 1105-1112


  2. Multilevel range/NEXT performance in digital subscriber loops
     Brand, G.; Madisetti, V.; Messerschmitt, D.G.;
     Communications, Speech and Vision, IEE Proceedings I [see also IEE
     Proceedings-Communications] ,Volume: 136 , Issue: 2 , April 1989
     Pages:169 – 174


  3. Seismic migration algorithms on parallel computers
     Madisetti, V.K.; Messerschmitt, D.G.;
     Signal Processing, IEEE Transactions on [see also Acoustics, Speech, and
     Signal Processing, IEEE Transactions on] ,Volume: 39 , Issue: 7 , July 1991
     Pages:1642 – 1654


  4. Asynchronous algorithms for the parallel simulation of event-driven
     dynamical systems
     Madisetti, V.K.; Walrand, J.C.; Messerschmitt, D.G.:
     ACM Transactions on Modeling and Computer Simulation, v 1, n 3, July 1991,
     Pages: 244-74


  5. Synchronization mechanisms for distributed event-driven
     computation


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                                                Professor Vijay K. Madisetti, ECE

   Madisetti, V.K.; Hardaker, D.:
   ACM Transactions on Modeling and Computer Simulation, v 2, n 1, Jan. 1992,
   Pages: 12-51


6. Efficient VLSI Architectures for the Arithmetic Fourier Transform
   (AFT)
   Kelley, B.T.; Madisetti, V.K.;
   Signal Processing, IEEE Transactions on [see also Acoustics, Speech, and
   Signal Processing, IEEE Transactions on] ,Volume: 41 , Issue: 1 , January
   1993
   Pages:365-378


7. The fast discrete Radon transform. I. Theory
   Kelley, B.T.; Madisetti, V.K.;
   Image Processing, IEEE Transactions on ,Volume: 2 , Issue: 3 , July 1993
   Pages:382 – 400


8. The Georgia Tech digital signal multiprocessor
   Barnwell, T.P., III; Madisetti, V.K.; McGrath, S.J.A.;
   Signal Processing, IEEE Transactions on [see also Acoustics, Speech, and
   Signal Processing, IEEE Transactions on] ,Volume: 41 , Issue: 7 , July 1993
   Pages:2471 – 2487


9. The MIMDIX Environment for Parallel Simulation
   Madisetti, V.K.; Hardaker, D.; Fujimoto, R.M.:
   Journal of Parallel and Distributed Computing, v18, no. 4, August 1993,
   Pages: 473-83.


10.LMSGEN: a prototyping environment for programmable adaptive
   digital filters in VLSI
   Romdhane, M.S.B.; Madisetti, V.K.;
   Chapter in VLSI Signal Processing, VII, 1994.,
   Pages:33 – 42


11. Fixed-point co-design in DSP
   Egolf, T.W.; Famorzadeh, S.; Madisetti, V.K.;
   Chapter in VLSI Signal Processing, VII, 1994.,
   Pages:113 - 126


12. A fast spotlight-mode synthetic aperture radar imaging system
   Madisetti, V.K.;
   Communications, IEEE Transactions on ,Volume: 42 , Issue: 234 , February-
   April 1994
   Pages:873 – 876




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                                                Professor Vijay K. Madisetti, ECE

13. Rapid prototyping on the Georgia Tech digital signal multiprocessor
   Curtis, B.A.; Madisetti, V.K.;
   Signal Processing, IEEE Transactions on [see also Acoustics, Speech, and
   Signal Processing, IEEE Transactions on] ,Volume: 42 , Issue: 3 , March
   1994
   Pages:649 – 662


14.Low-power signaling in asymmetric noisy channels via spectral
   shaping
   Sipitca, M.; Madisetti, V.K.;
   Signal Processing Letters, IEEE, Volume: 1 , Issue: 8 , Aug 1994
   Pages:117 – 118


15. A quantitative methodology for rapid prototyping and high-level
   synthesis of signal processing algorithms
   Madisetti, V.K.; Curtis, B.A.;
   Signal Processing, IEEE Transactions on [see also Acoustics, Speech, and
   Signal Processing, IEEE Transactions on] ,Volume: 42 , Issue: 11 , Nov. 1994
   Pages:3188 – 3208


16. Computer Simulation of Application-Specific Signal Processing
   Systems
   Casinovi, G.; Madisetti, V.K.;
   International Journal in Computer Simulation, Vol. 4, No. 4, Nov 1994.


17. System partitioning of MCMs for low power
   Khan, S.A.; Madisetti, V.K.;
   Design & Test of Computers, IEEE ,Volume: 12 , Issue: 1 , Spring 1995
   Pages:41 – 52


18. Error correcting run-length limited codes for magnetic recording
   Jaejin Lee; Madisetti, V.K.;
   Magnetics, IEEE Transactions on ,Volume: 31 , Issue: 6 , Nov. 1995
   Pages:3084 – 3086


19. Virtual prototyping of embedded microcontroller-based DSP systems
   Madisetti, V.K.; Egolf, T.W.;
   Micro, IEEE ,Volume: 15 , Issue: 5 , Oct. 1995
   Pages:9 – 21


20. Constrained multitrack RLL codes for the storage channel
   Lee, J.; Madisetti, V.K.;
   Magnetics, IEEE Transactions on ,Volume: 31 , Issue: 3 , May 1995
   Pages:2355 – 2364




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                                                Professor Vijay K. Madisetti, ECE

21. Rapid digital system prototyping: current practice, future challenges
   Madisetti, V.K.;
   Design & Test of Computers, IEEE ,Volume: 13 , Issue: 3 , Fall 1996
   Pages:12 – 22


22. Conceptual prototyping of scalable embedded DSP systems
   Dung, L.-R.; Madisetti, V.K.;
   Design & Test of Computers, IEEE ,Volume: 13 , Issue: 3 , Fall 1996
   Pages:54 – 65


23. Advances in rapid prototyping of digital systems
   Madisetti, V.K.; Richards, M.A.;
   Design & Test of Computers, IEEE ,Volume: 13 , Issue: 3 , Fall 1996
   Pages:9


24. Combined modulation and error correction codes for storage
   channels
   Jaejin Lee; Madisetti, V.K.;
   Magnetics, IEEE Transactions on ,Volume: 32 , Issue: 2 , March 1996
   Pages:509 – 514


25. Model-based architectural design and verification of scalable
   embedded DSP systems-a RASSP approach
   Dung, L.-R.; Madisetti, V.K.; Hines, J.W.;
   Chapter in VLSI Signal Processing, IX, 1996.
   Pages:147 – 156


26. Low-power digital filter implementations using ternary coefficients
   Hezar, R.; Madisetti, V.K.;
   Chapter in VLSI Signal Processing, IX, 1996.,
   Pages:179 – 188


27. All-digital oversampled front-end sensors
   Romdhane, M.S.B.; Madisetti, V.K.;
   Signal Processing Letters, IEEE, Volume: 3 , Issue: 2 , Feb. 1996
   Pages:38 – 39


28. Modeling COTS components in VHDL
   Calhoun, S., Reese, R; Egolf, T., Madisetti, V.K.;
   Journal of VLSI Signal Processing, Volume: 14 , Issue: 2 , Nov 1996
   Pages: 24 – 31


29. VHDL-Based Rapid Systems Prototyping




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                                                 Professor Vijay K. Madisetti, ECE

   Egolf, T.; Madisetti, V.K.;
   Journal of VLSI Signal Processing, Volume: 14 , Issue: 2 , Nov 1996
   Pages: 40-52


30. Interface design for core-based systems
   Madisetti, V.K.; Lan Shen;
   Design & Test of Computers, IEEE ,Volume: 14 , Issue: 4 , Oct.-Dec. 1997
   Pages:42 - 51


31. Incorporating cost modeling in embedded-system design
   Debardelaben, J.A.; Madisetti, V.K.; Gadient, A.J.;
   Design & Test of Computers, IEEE ,Volume: 14 , Issue: 3 , July-Sept. 1997
   Pages:24 – 35


32. On homomorphic deconvolution of bandpass signals
   Marenco, A.L.; Madisetti, V.K.;
   Signal Processing, IEEE Transactions on [see also Acoustics, Speech, and
   Signal Processing, IEEE Transactions on] ,Volume: 45 , Issue: 10 , Oct. 1997
   Pages:2499 – 2514


33. A case study in the development of multi-media educational material:
   the VHDL interactive tutorial
   Gadient, A.J.; Stinson, J.A., Jr.; Taylor, T.C.; Aylor, J.H.; Klenke, R.H.;
   Salinas, M.H.; Madisetti, V.K.; Egolf, T.; Famorzadeh, S.; Karns, L.N.; Carter,
   H.W.;
   Education, IEEE Transactions on ,Volume: 40 , Issue: 4 , Nov. 1997
   Pages:17 pp.


34. Adaptive mobility management in wireless networks
   Jeongwook Kim; Madisetti, V.K.;
   Electronics Letters ,Volume: 34 , Issue: 15 , 23 July 1998
   Pages:1453 – 1455


35. Efficient implementation of two-band PR-QMF filterbanks
   Hezar, R.; Madisetti, V.K.;
   Signal Processing Letters, IEEE ,Volume: 5 , Issue: 4 , April 1998
   Pages:92 – 94


36. On fast algorithms for computing the inverse modified discrete
   cosine transform
   Yun-Hui Fan; Madisetti, V.K.; Mersereau, R.M.;
   Signal Processing Letters, IEEE ,Volume: 6 , Issue: 3 , March 1999
   Pages:61 – 64




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                                              Professor Vijay K. Madisetti, ECE

37. System on chip or system on package?
   Tummala, R.R.; Madisetti, V.K.;
   Design & Test of Computers, IEEE ,Volume: 16 , Issue: 2 , April-June 1999
   Pages:48 – 56


38. Reengineering legacy embedded systems
   Madisetti, V.K.; Jung, Y.-K.; Khan, M.H.; Kim, J.; Finnessy, T.;
   Design & Test of Computers, IEEE ,Volume: 16 , Issue: 2 , April-June 1999
   Pages:38 – 47


39. Reengineering digital systems
   Madisetti, V.K.;
   Design & Test of Computers, IEEE ,Volume: 16 , Issue: 2 , April-June 1999
   Pages:15 – 16


40. Parameter optimization of robust low-bit-rate video coders
   Sangyoun Lee; Madisetti, V.K.;
   Circuits and Systems for Video Technology, IEEE Transactions on, Volume: 9
   Issue: 6 , Sept. 1999
   Pages:849 – 855


41. Closed-form for infinite sum in bandlimited CDMA
   Jatunov, L.A.; Madisetti, V.K.;
   Communications Letters, IEEE ,Volume: 8 , Issue: 3 , March 2004
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Ph.D. Students Graduated



  1. Brian T. Kelley, 1992
     VLSI Computing Architectures for High Speed Signal Processing
     Member of Technical Staff, Motorola.

       Winner of Dr. Thurgood Marshall Dissertation Fellowship Award

  2.   Bryce A. Curtis, 1992
       Special Instruction Set Multiple Chip Computer for DSP
       Member of Technical Staff, IBM

  3. Jaejin Lee, 1994
     Robust Multitrack Codes for the Magnetic Channel
     Professor, Yonsei University, Korea

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     Director of IP, Rockwell.

  5.    Shoab A. Khan, 1995
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     Professor, National Chaio Tung University, Taiwan.




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     Winner of VHDL International Best PhD Thesis Award, 1997

7. Thomas W. Egolf, 1997
   Virtual Prototyping of Embedded DSP Systems
   Distinguished Member of Technical Staff, Agere

8.    Alvaro Marenco, 1997
     On Homomorphic Deconvolution of Bandpass Signals
     Professor, Texas A&M University.

     Winner of GIT ECE Outstanding Teaching Assistant Award

9. Shahram Famorzadeh, 1997
   BEEHIVE: A Distributed Environment for Adaptive Signal Processing
   Member of Technical Staff, Rockwell.

10. Timothy J. Klausutis, 1997
   Adaptive Lapped Transforms with Applications to Image Coding.
   US Air Force/Univ. of Florida.

11. Lan Shen, 1998
   Temporal Design of Core-Based Systems
   Member of Technical Staff, IBM

12. James DeBardelaben, 1998
   Optimization Based Approach to Cost Effective DSP Design
   Research Scientist, Johns Hopkins University

     Georgia Tech ECE Faculty Award

13. Sangyoun Lee, 1999
   Design of Robust Video Signal Processors
   Professor, Yonsei University

     US Army Sensors Lab Research Excellence Award, 1999

14. Rahmi Hezar, 2000
   Oversampled Digital Filters
   Member of Technical Staff, Texas Instruments

15. Yong-kyu Jung, 2001
   Model-Based Processor Synthesis
   Professor, Texas A&M University

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   Handoff Algorithms for Wireless Applications
   Member of Technical Staff, Texas Instruments

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     Design of a Retargetable Compiler for DSP
     Member of Technical Staff, Qualcomm

     US Army Sensors Lab Research Excellence Award, 1999

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     System-on-Chip Design with UML
     Professor, King Mongkut’s University, Thailand.

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  20. Loran Jatunov, 2004
     Performance Analysis of 3G CDMA Systems
     Senior Research Scientist, Soft Networks, LLC.

  21. Antonios Argyriou, 2005, Serving in Hellenic Army.

  22. Pilho Kim, 2009, Scientist, VP Technologies, Inc.

  23. M. Sinnokrot, 2009, Staff Engineer, Qualcomm.




Awards & Honors


  1. Jagasdis Bose National Science Talent Fellowship, Indian Institute of
     Technology, Kharagpur, 1980-1984.

  2. General Proficiency Prize, Indian Institute of Technology, Kharagpur, 1984.

  3. Demetri Angelakos Outstanding Graduate Student Award, Univ. of
     California, Berkeley, 1989

  4. Ira Kay IEEE/ACM Best Paper Award for Best Paper presented at IEEE
     Annual Simulation Symposium, 1989

  5. IBM Faculty Development Award 1990

  6. Technical Program Chair, IEEE Workshop on Parallel and Distributed
     Simulation. 1990.

  7. Technical Program Chair, IEEE MASCOTS’94

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    10. Georgia Tech Outstanding Doctoral Dissertation Advisor Award, 2001.

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 Intellectual Property Disclosures (Georgia Tech)

Patent     Date   Description
2843       2004   Method and Apparatus for Improving the Performance of Wireless LANs
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                  Layered Space-Time Block Codes in MIMO Communications Systems
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2810       2003   System on Mobile Devices Middleware Design
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2517       2002   A Dynamic Instantiated Real-Time Operating System Debugger
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2480       2001   Mobile Fleet Application based on SyD Technology
2479       2001   System of Databases: A model with coordination links and a calendar application
1893       1999   Beehive
1726       1995   Very High Scale Integrated Circuit Hardware Description Language Models
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